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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

    ELIZABETH SINES, et al.,

                       Plaintiffs,                       No. 3:17-cv-00072-NKM

       v.                                                JURY TRIAL DEMANDED

    JASON KESSLER, et al.,

                       Defendants.

    DEFENDANT MATTHEW HEIMBACH’S CONSENT MOTION FOR EXTENSION OF
            TIME TO FILE RESPONSE TO PLAINTIFFS’ MOTION FOR
                         SANCTIONS AGAINST HIM

            Pursuant to Rule 6(b) of the Federal Rules of Civil Procedure, Defendant Matthew

   Heimbach respectfully moves this Court for an extension of time to file his response to Plaintiffs’

   Motion for Sanctions (see ECF Nos. 457, 539) against him. Counsel for Plaintiffs has consented

   to this request.

            Plaintiffs filed a Supplemental Memorandum of Law in support of their motion (see ECF

   No. 1006) on Thursday, August 12, 2021. Matthew’s response is currently due on Thursday,

   August 26, 2021. He asks that the Court issue an order granting him permission to file said

   response on or before Tuesday, September 7, 2021.


                                                        Respectfully submitted,




                                                        /s/ Joshua Smith
                                                        Joshua Smith, Esq.
                                                        Pennsylvania Bar ID No. 207585
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                                             Smith LLC
                                             807 Crane Avenue
                                             Pittsburgh, Pennsylvania 15216
                                             (917) 567-3168 (phone)
                                             joshsmith2020@gmail.com

                                             Counsel for Defendants Matthew Parrott,
                                             Matthew Heimbach, and Traditionalist
                                             Worker Party

   Dated: August 26, 2021




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                                     CERTIFICATE OF SERVICE

          I hereby certify that on August 26, 2021, I filed the foregoing with the Clerk of Court

   through the CM/ECF system, which will send a notice of electronic filing to all counsel of record

   in the case, as well as all ECF-registered pro se parties.

          I hereby further certify that on August 26, 2021, I served a copy of the foregoing on the

   following non-ECF pro se parties, via electronic mail, as follows:

   Richard Spencer                                        Robert “Azzmador” Ray
   richardbspencer@icloud.com                             azzmador@gmail.com
   richardbspencer@gmail.com
                                                          Elliott Kline a/k/a Eli Mosley
   Vanguard America                                       eli.f.mosley@gmail.com
   c/o Dillon Hopper                                      deplorabletruth@gmail.com
   dillon_hopper@protonmail.com                           eli.r.kline@gmail.com

          I hereby further certify that on August 26, 2021, I served a copy of the foregoing on the

   following non-ECF pro se party, via first-class mail, as follows:

   Christopher Cantwell (00991-509)
   USP Marion
   U.S. Penitentiary
   P.O. Box 1000
   Marion, IL 62959


                                                           /s/ Joshua Smith
                                                           Joshua Smith, Esq.
                                                           Pennsylvania Bar ID No. 207585
                                                           Smith LLC
                                                           807 Crane Avenue
                                                           Pittsburgh, Pennsylvania 15216
                                                           (917) 567-3168 (phone)
                                                           joshsmith2020@gmail.com

                                                           Counsel for Defendants Matthew Parrott,
                                                           Matthew Heimbach, and Traditionalist
                                                           Worker Party


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